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                       IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF DELAWARE


                                              )
                                              )
BAUDAX BIO INC.,                              )
                                              )         Civil Action No. 21-cv-1585
                              Plaintiff,      )
                                              )
                       v.                     )
                                              )
AXSOME THERAPEUTICS, INC.                     )
                                              )
                              Defendant.      )


                             NOTICE AND ORDER OF DISMISSAL

        WHEREAS, Plaintiff Baudax Bio, Inc. has asserted certain patent infringement claims
against Defendant Axsome Inc.;

          WHEREAS the parties have resolved all outstanding issues between them relating to this
action;

        WHEREAS Plaintiff Baudax Bio, Inc. hereby voluntarily dismisses this litigation in its
entirety with prejudice pursuant to Fed. R. Civ. P. 41(a)(1); and

         WHEREAS Plaintiff Baudax Bio, Inc. hereby requests the Court confirm dismissal of this
litigation in its entirety with prejudice;

          IT IS this ______ day of February, 2022

          ORDERED, ADJUDGED AND DECREED as follows:

                 1.       All claims asserted by Baudax Bio, Inc. in the above matter are dismissed
          with prejudice.

                 2.     Each party shall bear its own costs and attorneys’ fees.

                 3.     This Court retains jurisdiction to enforce this Order of Dismissal.




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 Of Counsel:                                         Respectfully submitted,

                                                     /s/ James H. S. Levine
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                                                     Attorneys for Plaintiff Baudax Bio, Inc.



                                                     SO ORDERED:

Dated: February ___ , 2022

                                                     The Honorable Leonard P. Stark




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